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       Attorneys for Defendant
       Sabre Airline Solutions

                                     UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEW JERSEY

                                                     I
       RAMSEY ABDALLAH, individually and as          I DOCKET NO. 2:14-CV-01050 (JLL)(JAD)
                                                     I
       Guardian for RIYANNA ABDALLAH; and
       GHADEER ABBASI, individually and as           I
       Guardian for RIYANNA ABDALLAH,                I STIPULATION AND CONSENT
                                                         ORDER SETTING TIME FOR
                      Plaintiffs,                        DEFENDANT SABRE AIRLINE
                                                         SOLUTIONS TO (1) ANSWER SECOND
       vs.                                               AMENDED COMPLAINT AND (2)
                                                         ANSWER CROSSCLAIMS
       JETBLUE AIRWAYS CORPORATION,
       SABRE AIRLINE SOLUTIONS, and JOHN
       DOES 1-10,

                      Defendants.


              WHEREAS, by its September 3, 2015 Order (Docket No. 71), the Court referred the

       above captioned action to mediation;

              WHEREAS the Parties have scheduled a mediation to take place October 5, 2015;

              WHEREAS, pursuant to the Court's July 29, 2015 Order (Docket No. 67), Defendant

       Sabre Airline Solutions ("Sabre") would be required to answer or otherwise respond to the
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       Second Amended Complaint (Docket No. 64), and to Crossclaims asserted by Defendant

       JetBlue Airways Corporation ("JetBlue") (Docket No. 63) on or before September 30, 2015,

              It is hereby stipulated and agreed by and between the Parties, through their undersigned

       attorneys, that

               1) Sabre shall answer or otherwise respond to Plaintiffs' Second Amended Complaint

                  on or before October 26, 2015;

               2) Sabre shall answer or otherwise respond to the Crossclaims asserted by JetBlue on

                  or before October 26, 2015.

       FLORIO PERUCCI STEINHARDT &                        COHEN & GRES SER LLP
       FADER,LLC
                                                          By:    s/ Christopher M.P. Jackson
       By:   s/ Ravinder S. Bhalla                        Christopher M.P. Jackson
       Ravinder S. Bhalla
                                                          Dated: September 28, 2015
       Dated: September 28, 2015
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       By:  s/ Adam N. Saravay
       Adam N. Saravay

       Dated: September 28, 2015

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                           ~'\
       SO ORDERED this~°" _-:: day of     ~         -         , 2015




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